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2018R00230




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                                 Crim. No.   19-1\9 lJ\{~)
         V.                                               18 U.S.C. § 1343

 FRANK GILLIAM



                                     INFORMATION

        The defendant having waived in open court prosecution by indictment, the United States

Attorney for the District of New Jersey charges:

        1.     At all times relevant to this Information, unless otherwise indicated:

               A.     Defendant FRANK GILLIAM ("GILLIAM") was a resident of Atlantic

City, New Jersey. GILLIAM was a member of the Board of Trustees of AC Starz Basketball Club

("AC Starz"), a non-profit organization that GILLIAM incorporated in or about 2011 to operate a

youth basketball team. AC Starz was funded through fees paid by the families of youth basketball

players and donations from contributors. Between in or about January 2009 until in or about

December 2017, GILLIAM served as a member of the Atlantic City Council. In or about January

2018, GILLIAM became the Mayor of Atlantic City.

               B.     AC Starz maintained a bank account at a bank in New Jersey (the

"Account"). GILLIAM was a signatory on the Account, and all of the debit transactions in the

Account were made with debit cards issued to GILLIAM.

        2.     From at least as early as in or about 2013 to in or about 2018, in Atlantic County,

in the District of New Jersey, and elsewhere, defendant
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                                           FRANK GILLIAM

knowingly and intentionally did devise and intend to devise a scheme and artifice to defraud the

contributors to AC Starz of money by means of materially false pretenses, representations and

promises.

       3.      The object of this scheme and artifice to defraud was for GILLIAM, facilitated by

the use of interstate wire transmissions, to obtain donations from AC Starz contributors under the

false pretense that these funds would be used for the benefit of a youth basketball team and school

supplies for underprivileged children. GILLIAM instead used these funds primarily to pay for

personal expenses unrelated to the team or the purchase of school supplies.

       4.      It was part of the scheme and artifice to defraud that, from in or about 2013 to in or

about 2018:

               A.      GILLIAM solicited donations to AC Starz from various individuals and

entities, claiming that the funds would be used to support a youth basketball team and/or school

supplies.   During this period, GILLIAM collected approximately $87,215 in donations from

contributors to AC Starz and deposited these funds into the Account.

               B.      GILLIAM used the money in the Account for personal expenses unrelated

to the operation of a youth basketball team, including luxury designer clothing, expensive meals,

and personal trips to various locations.

       5.      On or about the dates listed below, in Atlantic County, in the District of New Jersey,

and elsewhere, for the purpose of executing and attempting to execute this scheme and artifice to

defraud, defendant

                                           FRANK GILLIAM




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knowingly and intentionally transmitted and caused to be transmitted in interstate commerce by

means of wire, radio and television communications certain writings, signs, signals, pictures, and

sounds, including:

 Date                                                 Wire Transmission

 September 25, 2014                                   GILLIAM caused a solicitation for donations
                                                      to AC Starz to be sent via facsimile from
                                                      Atlantic City, New Jersey to a victim based in
                                                      Philadelphia, Pennsylvania
 April 6, 2016                                        GILLIAM emailed the principal of a
                                                      corporate contributor to solicit a donation to
                                                      AC Starz
 December 26, 2017                                    GILLIAM used a debit card associated with
                                                      the Account to make a $568.31 purchase of
                                                      luxury designer clothing in Tinton Falls, New
                                                      Jersey that was processed through an out-of-
                                                      state server

                 In violation of Title 18, United States Code, Section 1343.



                                                        CRAI CARPNITO
                                                        United States Attorney




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                 United States District Court
                   District of New Jersey

                UNITED STATES OF AMERICA

                                 v.

                        FRANK GILLIAM


                   INFORMATION FOR
                         18 u.s.c. § 1343



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